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            ORDERED in the Southern District of Florida on March 3, 2014.




                                                                       Erik P. Kimball, Judge
                                                                       United States Bankruptcy Court
_____________________________________________________________________________
         
                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       WEST PALM BEACH DIVISION
         
        IN RE:                                                     :        CHAPTER 11
                                                                   :
        TP5, LLC,                                                  :        CASE NO. 13-21573-EPK
                                                                   :
        Debtor.                                                    :
         
         
                                            ORDER DISMISSING CASE
         
         
                  This matter came before the Court on February 27, 2014 on the United States Trustee's Motion

        to Dismiss Case or to Convert Case to Chapter 7. After proper notice and hearing, the Debtor

        does not oppose the dismissal of the case. The Court having reviewed United States Trustee's
        Motion and hearing argument and agreement of the parties and Court taking specific judicial

        notice of the entire contents of the Court file, it is:
                  ORDERED that this case is dismissed with prejudice to the filing of a petition under any

        chapter of the Bankruptcy Code for a period of 6 months from the date of this Order, and it is

        further
         
                  ORDERED that the debtor shall pay the United States Trustee the appropriate sum required

        pursuant to 28 U.S.C. Section 1930(a)(6) within ten (10) days of the entry of this Order and
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        simultaneously provide to the United States Trustee an appropriate affidavit indicating

the cash disbursements for the relevant period since the period reported on the last debtor-in-

possession report filed by the debtor, and it is further

        ORDERED that the debtor, shall pay the Bankruptcy Clerk of the Court any outstanding
fees, costs and charges in connection with this case within ten (10) days of the entry of this Order,

and it is further
        ORDERED that the Court shall retain jurisdiction to enforce the provisions of this Order.
 
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Submitted by:
Heidi Feinman
Trial Attorney,
U.S. Trustee's Office
 
 
        ALL CREDITORS AND PARTIES IN INTEREST (BY CLERK'S OFFICE)
